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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITGATION
                                                   Case No. 16-md-02741-VC
 This document relates to:
                                                   PRETRIAL ORDER NO. 133:
 Hardeman v. Monsanto, 3:16-cv-00525-VC
                                                   COURT’S PROPOSED VERDICT FORM




       The parties should be prepared to discuss the proposed verdict form on Monday

afternoon. The parties are responsible for bringing to the Court’s attention any objections they

have to the structure or content of the verdict form.

       IT IS SO ORDERED.

Date: March 25, 2019                                         ___________________________
                                                             Honorable Vince Chhabria
                                                             United States District Court
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       After you have reached your verdict, please fill out this form. After you have completed
the form, let the Courtroom Deputy know that you have reached a verdict, without saying what
the verdict is. The presiding juror should keep the form and bring it into the courtroom so that
the jury may announce the verdict.


Question 1: Did Mr. Hardeman prove by a preponderance of the evidence his claim that
Roundup’s design was defective? See Instruction Number 11.


       Yes: ______            No: ______


Question 2: Did Mr. Hardeman prove by a preponderance of the evidence his claim that
Roundup lacked sufficient warnings of potential risks? See Instruction Number 12.


       Yes: ______            No: ______


Question 3: Did Mr. Hardeman prove by a preponderance of the evidence his claim that
Monsanto was negligent by not using reasonable care to warn about Roundup’s cancer risk? See
Instruction Number 13.


       Yes: ______            No: ______


If you answered “no” to all three questions above, please stop, sign the verdict form, and inform
the Courtroom Deputy that you have reached a verdict. If you answered “yes” to one or more of
the questions above, then please continue.


Question 4: What are Mr. Hardeman’s compensatory damages? See Instruction Number 15.

       Past economic loss:            $ 200,967.10

       Past noneconomic loss:         $ _____________

       Future noneconomic loss:        $ _____________
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Question 5: Did Mr. Hardeman prove by clear and convincing evidence that he is entitled to
punitive damages based on Monsanto’s conduct during the time Mr. Hardeman was using
Roundup? See Instruction Number 16.


         Yes: ______         No: ______


Question 6: If you answered “yes” to the previous question, what amount do you award Mr.
Hardeman in punitive damages?


         $ _____________________




Dated:                                                    ______________________________
                                                          Presiding Juror
